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                                                          1 Shayna Fernandez Watts (027342)
                                                            FERNANDEZ WATTS LAW PLLC
                                                          2 5040 E. Shea Blvd. Ste. 272
                                                            Scottsdale, Arizona 85254
                                                          3 Phone: (602) 760-5100
                                                          4 Fax: (602) 760-5130
                                                            Email:Shayna@FernandezWattsLaw.com
                                                          5 Attorney for Plaintiff
                                                          6
                                                                                  IN THE UNITED STATES DISTRICT COURT
                                                          7
                                                                                        FOR THE DISTRICT OF ARIZONA
                                                          8
                                                          9 Alexis Lindvall,                                   Case No.: CV-24-00768-PHX-DWL
                                                         10                                                    RESPONSE TO MOTION TO
                                                                                    Plaintiff,
                                                         11                                                    DISMISS
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                      5040 E. Shea Boulevard, Ste. 272




                                                              v.
                         Scottsdale, Arizona 85254




                                                         12
                                                         13 The Law Office of Daniel Hutto, PLLC;
                                                            Daniel Hutto; Shannon McShay; and John
                                                         14 Carbone,
                                                         15
                                                                                Defendants.
                                                         16
                                                         17           Plaintiff Alexis Lindvall asks the Court to deny Defendants’ motion to dismiss her
                                                         18 intentional infliction of emotional distress claim because she has pleaded a cognizable legal
                                                         19 theory and more than sufficient facts to support a cognizable legal claim. Defendants fired Ms.
                                                         20 Lindvall three days after she confided in them that she was suffering from severe postpartum
                                                         21 depression and insomnia and that she was seeking emergency inpatient psychiatric
                                                         22 hospitalization because a doctor had deemed her a danger to herself and her six-month-old
                                                         23 baby. Defendants fired Ms. Lindvall with a Saturday evening emailed letter from an attorney.
                                                         24 Moreover, from the time she announced her pregnancy until the termination, Defendants
                                                         25 tormented Ms. Lindvall because of her pregnancy and post-partum needs. The facts alleged
                                                         26 show the ongoing and callous nature of Defendants’ actions intentionally or recklessly
                                                         27 committed to cause severe distress to Ms. Lindvall, when Defendants knew Ms. Lindvall was
                                                         28 particularly susceptible to emotional distress because she confided in them that she was in the


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                                                          1 middle of a childbirth-related medical crisis and was seeking emergency treatment for severe
                                                          2 post-partum depression. As alleged in the operative complaint, Defendants (i) subjected
                                                          3 Plaintiff to months of harassing, derogatory, and abusive treatment because of her pregnancy,
                                                          4 including making her post a picture of a cow on her office door while she breast-pumped; (ii)
                                                          5 retaliated against Plaintiff and intimidated her when she complained of Defendants’
                                                          6 discriminatory treatment; (iii) engaged in flagrant sex-based and pregnancy-based
                                                          7 discrimination by firing her explicitly because she sought doctor-ordered medical treatment
                                                          8 for postpartum depression and insomnia; (iv) crafted a false narrative to terminate Plaintiff on
                                                          9 a Saturday knowing she was in the middle of a mental-health crisis; and (v) terminated Plaintiff
                                                         10 knowing that she posed a danger to herself and her infant child. The facts go beyond the “close”
                                                         11 calls Arizona courts have previously dismissed at this phase of litigation, and the Court should
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                                                         12 allow Ms. Lindvall to pursue her claim.
                                                         13                                     LEGAL STANDARD
                                                         14         To survive a Rule 12(b)(6) motion for failure to state a claim, a complaint must meet
                                                         15 the requirements of Rule 8(a)(2). Rule 8(a)(2) requires a “short and plain statement of the
                                                         16 claim showing that the pleader is entitled to relief,” so that the defendant has “fair notice of
                                                         17 what the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550
                                                         18 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). This requirement is
                                                         19 met if the pleader sets forth “factual content that allows the court to draw the reasonable
                                                         20 inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.
                                                         21 662, 678 (2009). In ruling on a Rule 12(b)(6) motion to dismiss, the well-pled factual
                                                         22 allegations are taken as true and construed in the light most favorable to the nonmoving party.
                                                         23 Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009).
                                                         24                     RELEVANT FACTS SUPPORTING IIED CLAIM
                                                         25         When Defendants hired Ms. Lindvall in 2021, she was a qualified, up and coming
                                                         26 Arizona family law attorney with an impeccable record, and prior to Ms. Lindvall revealing
                                                         27 her pregnancy, Defendants had never disciplined her for any reason. Doc. 10 at ¶¶ 8-11. To
                                                         28 the contrary, Defendants gave Ms. Lindvall outstanding performance reviews praising her


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                                                          1 client management, drafting skills, and court performance. Doc. 10 at ¶11. In or around August
                                                          2 2022, Ms. Lindvall revealed her pregnancy to the firm’s co-owner, McShay, and the managing
                                                          3 attorney, Carbone, and things changed for Ms. Lindvall thereafter. Doc. 10 at ¶11-12. Firm
                                                          4 leadership seemed personally offended by Ms. Lindvall’s pregnancy and made repeated
                                                          5 statements about how Ms. Lindvall’s pregnancy was a “problem” for the firm and complained
                                                          6 that it made their jobs harder. Doc. 10 at ¶13, 21-22. Ms. Lindvall worked hard to ensure that
                                                          7 was not the case, and did everything she could to effectively transition her cases before her
                                                          8 leave, despite resistance to the same. Doc. 10 at ¶¶ 15-19.
                                                          9         Ms. Lindvall began a period of unpaid maternity leave beginning on approximately
                                                         10 April 3, 2023 and continuing until July 4, 2023. Doc. 10 at ¶27. Ms. Lindvall returned from
                                                         11 maternity leave on July 5, 2023 and immediately experienced renewed hostility,
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                                                         12 discrimination, and retaliation from each of the three individual Defendants, which ultimately
                                                         13 led Ms. Lindvall to lodge a formal complaint with the firm. Doc. 10 at ¶31, 51. But in response
                                                         14 to that complaint, Carbone and McShay joined the confidential meeting with the firm’s outside
                                                         15 counsel to yell at Ms. Lindvall and tell her to fall in line. Doc. 10 at ¶¶ 53-54. The investigation
                                                         16 did not result in any remedial action and did not follow firm policies. Doc. 10 at ¶¶ 52-55.
                                                         17          Ms. Lindvall also requested accommodations upon her return, one of which was to be
                                                         18 able to pump in her office and work while doing so. Doc. 10 at ¶32. In anticipation of Ms.
                                                         19 Lindvall’s return from maternity leave and need for this accommodation, Hutto printed out
                                                         20 and was circulating around the office a picture of a cartoon cow. Ms. Lindvall became aware
                                                         21 of the picture and expectation that she put it on her office door as a sort of “Do Not Disturb”
                                                         22 sign while pumping. Doc. 10 at ¶¶ 34. Ms. Lindvall pumped three times per day, every day,
                                                         23 posting the cartoon cow on her door while doing so, making the intentional ridicule constant.
                                                         24 Doc. 10 at ¶36. Ms. Lindvall also learned Hutto discussed her pregnancy with several other
                                                         25 employees at the firm while she was on leave, criticizing and deriding her for being pregnant.
                                                         26 Doc. 10 at ¶35.
                                                         27         Ms. Lindvall also experienced hostility from other firm employees whenever she
                                                         28 needed to pump. Doc. 10 at ¶37. McShay for example was unwilling to talk with Ms. Lindvall


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                                                          1 on the phone while she was pumping in her office and instead demanded they discuss cases
                                                          2 face to face, after Ms. Lindvall was done pumping. Doc. 10 at ¶38. Meanwhile, McShay had
                                                          3 no issue holding phone meetings with other employees and was intentionally making
                                                          4 Plaintiff’s job harder. When Ms. Lindvall returned from leave, Defendants also intentionally
                                                          5 tried to set her up to fail by abruptly handing back her entire caseload without the same
                                                          6 transitionary period afforded to non-pregnant employees, including a case with pre-hearing
                                                          7 deadlines in two days that the associate handling the case on Ms. Lindvall’s leave had almost
                                                          8 completely neglected. Doc. 10 at ¶40-42. When Ms. Lindvall voiced her concerns about
                                                          9 inadequate time to prepare for a high-stakes hearing a mere seven days after her return from
                                                         10 maternity leave, Defendants shamed her in front of co-workers, and punitively removed her
                                                         11 from the case permanently, despite her objections to the same, which had financial
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                                                         12 implications for Ms. Lindvall. Doc. 10 at ¶¶ 42-49. Plaintiff attempted to get resolve for the
                                                         13 retaliation and hostility once again with Hutto on August 30, 203, but Hutto did not take any
                                                         14 action on her complaint. Doc. 10 at ¶¶ 57-58.
                                                         15         On Wednesday, October 11, 2023, Ms. Lindvall had a doctor’s appointment related to
                                                         16 her post-pregnancy health at 10:15 a.m. Doc. 10 at ¶59. Ms. Lindvall met with McShay on her
                                                         17 way to this appointment and told McShay the reason for the appointment—suspected
                                                         18 postpartum depression and insomnia. Doc. 10 at ¶60. McShay expressed faux support for Ms.
                                                         19 Lindvall, but nevertheless undoubtably understood Ms. Lindvall’s need for medical attention.
                                                         20 Doc. 10 at ¶61. At the appointment, Ms. Lindvall’s doctor diagnosed her as suffering from
                                                         21 severe postpartum depression and insomnia and urged her to be hospitalized immediately for
                                                         22 treatment and stabilization. Doc. 10 at ¶63. Even though Ms. Lindvall was terrified to do so,
                                                         23 Ms. Lindvall returned to the office and communicated the diagnosis to McShay including her
                                                         24 imminent hospitalization and need for leave because her doctor determined she was a risk to
                                                         25 herself and her 6-month-old baby. Doc. 10 at ¶64-65. Ms. Lindvall’s requested
                                                         26 accommodation at that moment was for time off for hospitalization and recovery. Doc. 10 at
                                                         27 ¶67.
                                                         28         Defendants knew Ms. Lindvall was temporarily out of the office due to a “medical


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                                                          1 emergency”, and they confirmed Ms. Lindvall’s employment status in a court pleading filed
                                                          2 on October 11 stating Ms. Lindvall was experiencing a “medical emergency” and that she was
                                                          3 “out of the office”. Doc. 10 at ¶70-71. Nevertheless, on Saturday evening, October 14,
                                                          4 Defendants, through their employment law attorney, sent a letter to Ms. Lindvall by email
                                                          5 stating her employment ended on October 11, the day she sought emergent hospitalization for
                                                          6 severe postpartum depression, because she had allegedly resigned and was allegedly unable to
                                                          7 practice law. Doc. 10 at ¶75. In the letter, authored by Andrew Lishko as counsel for the
                                                          8 Defendants, Defendants admitted knowing Ms. Lindvall was “struggling with sleeplessness
                                                          9 and other issues for the past several weeks,” and that Ms. Lindvall told McShay a doctor had
                                                         10 advised her “to immediately go to the hospital because [she] had been advised by the mental
                                                         11 health professional that [she was] a danger to [her]self and [her] child.” Doc. 10 at ¶76.
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                                                         12 Defendants’ letter stated Ms. Lindvall’s clients had already all been reassigned, Ms. Lindvall
                                                         13 was prohibited from returning to the law office for any reason, and her remote access to email
                                                         14 and the firm’s system had been disabled. Doc. 10 at ¶77, 98. Because Ms. Lindvall had not
                                                         15 resigned and had not stated she was unable to practice law, she responded to the letter from
                                                         16 the firm by email on Sunday, October 15, refuting the characterization of her disclosures,
                                                         17 confirming she was still able to practice law, requesting a return-to-work date and for the firm
                                                         18 to engage in the interactive process regarding the same. Doc. 10 at ¶79-80. Before getting any
                                                         19 response, on early Monday morning, October 16, and without warning, Defendants directed
                                                         20 the Firm process server, who knew Ms. Lindvall only in a professional capacity, to deliver her
                                                         21 personal belongings from her office to her home, which caused Ms. Lindvall further
                                                         22 embarrassment and trauma. Doc. 10 at ¶¶ 100.
                                                         23         The next day, on Tuesday, October 17, Defendants doubled down on the separation,
                                                         24 again claiming Ms. Lindvall had resigned and was unable to practice law based on her
                                                         25 communications with McShay wherein she disclosed her postpartum depression and insomnia
                                                         26 and requested accommodations. Doc. 10 at ¶81. The letter was threatening in nature and a
                                                         27 transparent attempt to bully and intimidate Ms. Lindvall against complaining about the
                                                         28 termination. Doc. 10 at ¶82. Defendants criticizing Ms. Lindvall’s actions 48 hours after being


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                                                          1 released from the hospital, claiming she should have communicated sooner, even though the
                                                          2 termination letter was sent on a Saturday, a day that the Firm does not typically do business,
                                                          3 to preempt her response, and contrary to Defendants’ previously held position that Ms.
                                                          4 Lindvall had resigned. If Defendants believed Ms. Lindvall had resigned, her post release
                                                          5 actions would have no relevance, yet Defendants continued to try to manipulate and intimidate
                                                          6 Ms. Lindvall with veiled threats to cover up their wrongdoing.
                                                          7         As further evidence of their vindictive intent, knowing Ms. Lindvall would suffer
                                                          8 financial hardship after the abrupt termination, Defendants refused to pay Ms. Lindvall her
                                                          9 accrued and earned bonus. Doc. 10 at ¶83.
                                                         10         When Defendants terminated Ms. Lindvall, Defendants were aware Ms. Lindvall had
                                                         11 been told by her doctor she posed a danger to herself and her child and that she was seeking
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                                                         12 emergency medical care. Defendants nevertheless intentionally rushed to terminate Ms.
                                                         13 Lindvall on a weekend under false pretenses, knowing termination under the circumstances
                                                         14 would be extremely distressing for a first-time mother suffering from severe postpartum
                                                         15 depression and sleep deprivation. Defendants, however, did not stop there; they continued to
                                                         16 send threatening letters with demonstrably false allegations about Ms. Lindvall and her
                                                         17 professional abilities when she requested a return-to-work date.
                                                         18         Defendants’ actions caused Ms. Lindvall to experience severe emotional distress and
                                                         19 physical distress of mind and body including insomnia, anxiety, depression, loss of appetite
                                                         20 and nausea, headaches, humiliation, nervousness, excessive crying, loss of self-worth and self-
                                                         21 doubt, fear, shock, anger, worry, exhaustion, edginess, and intense anger. Doc. 10 at ¶¶ 88, 89,
                                                         22 90. Ms. Lindvall withdrew from her friends and spent weeks dealing with this distress, while
                                                         23 worrying about her ability to provide for her family. Doc. 10 at ¶¶89, 99.
                                                         24                                         ARGUMENT
                                                         25         The three elements necessary to establish a claim for intentional infliction of emotional
                                                         26 distress are: (1) the defendant’s conduct must be capable of being characterized as “extreme
                                                         27 and outrageous”; (2) the defendant must either intend to cause emotional distress or recklessly
                                                         28 disregard the near certainty that distress will result from his conduct; and (3) the defendant’s


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                                                          1 conduct must have caused severe emotional distress. Watts v. Golden Age Nursing Home, 127
                                                          2 Ariz. 255, 258, 619 P.2d 1032, 1035 (1980). Defendants do not dispute the second element
                                                          3 (that Ms. Lindvall adequately plead Defendants’ intent or reckless disregard for the near
                                                          4 certainty that distress would result) and instead argue the alleged conduct was not extreme and
                                                          5 outrageous and Ms. Lindvall did not suffer severe emotional distress.
                                                          6     I.   Defendants’ conduct is “extreme and outrageous” under Arizona law.
                                                          7          Defendants subjected Ms. Lindvall to months of ridicule and embarrassment, during
                                                          8 and after her pregnancy, failed to adequately address her complaints or follow their policies
                                                          9 regarding the complaints, and then, after learning Ms. Lindvall was suffering from insomnia
                                                         10 and postpartum depression, crafted a false narrative to terminate Ms. Lindvall, concluding
                                                         11 without any medical or professional basis that Ms. Lindvall was unable to practice law entirely,
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                                                         12 imparting the devastating news and assessments on her career knowing she had been deemed
                                                         13 a danger to herself and her child, knowing this would strip her of her employer-based medical
                                                         14 insurance, knowing their narrative was false, and knowing their actions would harm her.
                                                         15 Moreover, they intentionally conspired to deliver the news on the weekend to preempt Ms.
                                                         16 Lindvall’s return, uncharacteristically prohibiting Ms. Lindvall from ever returning to the firm
                                                         17 for any reason and then denying her earned pay. Even after Ms. Lindvall’s expressed her
                                                         18 written objections to the same, Defendants continued to fabricate her resignation and inability
                                                         19 to practice law because she sought emergency medical treatment for postpartum depression,
                                                         20 insomnia, and was a danger to herself and baby. They used their positions of authority to
                                                         21 intimidate Plaintiff when she made complaints and through their actions after the termination.
                                                         22          The facts in Ms. Lindvall’s complaint surpass the standard required for an intentional
                                                         23 infliction of emotional distress claim in Arizona. Ford v. Revlon, 734 P.2d 580, 585 (Ariz.
                                                         24 1987). Determining whether Ms. Lindvall has alleged “outrageous conduct” and “severe
                                                         25 emotional distress” requires a case-by-case analysis. Midas Muffler Shop v. Ellison, 133 Ariz.
                                                         26 194, 197, 650 P.2d 496, 499 (App. 1982). Factors considered include: (1) the position
                                                         27 occupied by the defendant (cmt. e); see also Humphers v. First Interstate Bank, 68 Or. App.
                                                         28 573, 684 P.2d 581 (1984) (tortious purpose element of tort of outrageous conduct found in


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                                                          1 breach of physician-patient relationship); and (2) defendant’s knowledge that the plaintiff is
                                                          2 peculiarly susceptible to emotional distress by reason of some physical or mental condition
                                                          3 (comment f); see also Richardson v. Pridmore, 97 Cal.App.2d 124, 217 P.2d 113 (1950)
                                                          4 (plaintiff, after suffering a miscarriage, entitled to recover for emotional distress caused by
                                                          5 outrageous and intentional conduct of landlord).
                                                          6           (1)    Defendants were in a position of authority over Ms. Lindvall.
                                                          7          An abuse of one’s position or relationship in order to effectuate the actor’s interests
                                                          8 can impact the extreme and outrageous nature of the conduct at issue. When a person uses
                                                          9 power to affect their interest, it makes the conduct more outrageous. Lucchesi v. Stimmell, 149
                                                         10 Ariz. at 79, 716 P.2d at 1013; Restatement (2d) of Torts § 46, cmt. e. Ms. Lindvall was an
                                                         11 employee and Defendants were her employers and supervisors. Defendants used their power
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                                                         12 to intimidate Ms. Lindvall when she made complaints, subject her to ridicule and
                                                         13 embarrassment, and then fire her. For example, Carbone and McShay used intimidation and
                                                         14 their positions of authority to intrude on Ms. Lindvall’s confidential meeting with outside
                                                         15 counsel and challenge Ms. Lindvall directly when Ms. Lindvall lodged a complaint about
                                                         16 discrimination and harassment. Carbone ultimately yelled at Ms. Lindvall in this meeting and
                                                         17 told her she was to “You will listen to me while I speak! I am your superior!” Again, this was
                                                         18 done at what was supposed to be a meeting with outside counsel regarding Ms. Lindvall’s
                                                         19 complaints of discrimination and harassment, but Defendants wanted to shut down Ms.
                                                         20 Lindvall using intimidation. Hutto also used his position of authority to circulate and mock
                                                         21 Plaintiff by printing out a picture of a cartoon cow for Ms. Lindvall to use as her do not disturb
                                                         22 sign while pumping, knowing as her supervisor, it would be harder to refuse. McShay also
                                                         23 used her position of authority and faux support to get Ms. Lindvall to confide in her regarding
                                                         24 her conditions, despite the fact she intended to terminate Ms. Lindvall’s employment that day
                                                         25 explicitly because of these conditions. Instead of supporting her, McShay used the information
                                                         26 Ms. Lindvall disclosed to conspire with her partners regarding turning Ms. Lindvall’s
                                                         27 disclosure into a resignation knowing she was already suffering. Defendants used their
                                                         28 positions of authority to effectuate their interest in harming, intimidating, and terminating Ms.


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                                                          1 Lindvall.
                                                          2           (2) Defendants knew Ms. Lindvall was peculiarly susceptible to emotional
                                                                          distress by reason of some physical or mental condition.
                                                          3
                                                          4         At the time they fired her, Defendants knew Ms. Lindvall was particularly susceptible
                                                          5 to emotional distress, as she confided in them that she was suicidal and suffering from post-
                                                          6 partum depression. Defendants’ knowledge of Ms. Lindvall’s state of mind makes the conduct
                                                          7 all the more outrageous. “The extreme and outrageous character of the conduct may arise from
                                                          8 the actor’s knowledge that the other is peculiarly susceptible to emotional distress, by reason
                                                          9 of some physical or mental condition or peculiarity. The conduct may become heartless,
                                                         10 flagrant, and outrageous when the actor proceeds in the face of such knowledge, where it
                                                         11 would not be so if he did not know.” Restatement 2d of Torts § 46, cmt. f; accord, Lucchesi v.
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                                                         12 Stimmell, 149 Ariz. 76, 79, 716 P.2d 1013 (1986).
                                                         13         It is difficult to imagine conduct more “atrocious and utterly intolerable in a civilized
                                                         14 community” than to intentionally risk harm to a sick person and her baby. See Restatement 2d
                                                         15 of Torts § 46 cmt. d, f (highlighting examples where liability is based on knowledge).
                                                         16 Defendants cannot deny knowing Ms. Lindvall was suffering from post-partum depression,
                                                         17 insomnia, and that she was a danger to herself and her baby because they included this in their
                                                         18 termination notice, but Defendants have ignored this aspect of the analysis, attempting to
                                                         19 characterize Ms. Lindvall’s claim as a typical employment scenario and separation.
                                                         20 Defendants’ treatment of Ms. Lindvall was anything but typical and certainly not tolerable in
                                                         21 a civilized society. Ms. Lindvall told Defendants she was suicidal and a danger to herself and
                                                         22 her baby, and the very next thing they did, before checking on her or her status, was to send a
                                                         23 one-way communication notifying her she was terminated and unable to practice law with a
                                                         24 manipulative narrative, jeopardizing her sense of stability further. In the employment context
                                                         25 or not, the facts are beyond all possible bounds of decency given Ms. Lindvall’s status, and
                                                         26 therefore are outrageous under Arizona law.
                                                         27    II. Defendants’ conduct caused Ms. Lindvall severe emotional distress.
                                                         28         Ms. Lindvall suffered from severe emotional distress because of the Defendants’


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                                                          1 actions, and she pleaded these details in her complaint. Ms. Lindvall became suicidal while
                                                          2 working for Defendants after being subjected to months of ridicule and embarrassment, and
                                                          3 then after being terminated, suffered from the mental and physical conditions alleged.
                                                          4 Specifically, Defendants’ actions caused Ms. Lindvall to experience severe emotional distress
                                                          5 and physical distress of mind and body including insomnia, anxiety, depression, loss of
                                                          6 appetite and nausea, headaches, humiliation, nervousness, excessive crying, loss of self-worth
                                                          7 and self-doubt, fear, shock, anger, worry, exhaustion, edginess, and intense anger, and social
                                                          8 withdrawal for weeks. Doc. 10 at ¶¶ 88, 89, 90, 99.
                                                          9         Defendants have again isolated Ms. Lindvall’s allegations and suffering in an attempt
                                                         10 to minimize the distress Ms. Lindvall experienced, relying on cases decided at summary
                                                         11 judgment, to do so. Ms. Lindvall was not suffering from the type of distress a lawyer should
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                                                         12 be expected to endure at the hands of her employer. Defendants’ attempt to normalize Ms.
                                                         13 Lindvall’s suffering as the type of suffering experience by lawyers is wrong. Defendants
                                                         14 caused Ms. Lindvall to experience severe emotional distress that was of a much greater
                                                         15 dimension than the day-to-day mental stress any employee, including lawyers, might
                                                         16 experience from a job. The severe emotional distress alleged (including depression, headaches,
                                                         17 nausea, insomnia, anxiety, loss of appetite, humiliation, nervousness, excessive crying, loss of
                                                         18 self-worth and self-doubt, fear, shock, anger, worry, exhaustion, edginess, and intense anger,
                                                         19 and social withdrawal) are more than sufficient to state a claim for severe emotional distress.
                                                         20 Pankratz v. Willis, 744 P.2d 1182, 1197 (Ariz. App. 1987) (anger and depression coupled with
                                                         21 physical ailments like headaches, constitute severe emotional distress).
                                                         22     III. Cases cited by Defendants are distinguishable and inapplicable.
                                                         23       In Mintz v. Bell Atlantic Systems Leasing International, Inc., 905 P.2d 559 (Ariz. Ct. App.
                                                         24 1995), a divided Arizona Court of Appeals panel held Bell Atlantic did not engage in
                                                         25 sufficiently “extreme and outrageous” conduct when it “called [an employee] back to work
                                                         26 sooner than her doctor recommended” and later “hand delivered a letter to [her] in the
                                                         27 hospital.” Id. at 563‒64. Although the court ultimately dismissed the IIED claim, it
                                                         28 acknowledged the employer’s conduct presented a “close[]” intentional infliction of emotional


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                                                          1 distress case, given the employee’s “known susceptibility to emotional problems” at the time.
                                                          2 Id. at 563; see also Restatement (Second) of Torts § 46 cmt. f. The facts are easily
                                                          3 distinguishable. First, Mintz was hospitalized for severe emotional and psychological
                                                          4 problems, and Bell Atlantic did not immediately terminate Mintz when they learned this.
                                                          5 Instead, Mintz began receiving short term disability benefits and remained employed for
                                                          6 three months while on leave. About three months later, when Mintz’s disability benefits
                                                          7 ended, but prior to when Mintz’s doctor recommended, Bell Atlantic directed Mintz to return
                                                          8 to work. By contrast, Defendants terminated Ms. Lindvall within days of her disclosing her
                                                          9 need for hospitalization, and Defendants prohibited Ms. Lindvall from returning to work,
                                                         10 insulting her and her ability to practice law thereafter. And finally, after Mintz returned to
                                                         11 work, the “stress” of her job put her back into the hospital the following day, and Bell Atlantic
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                                                         12 informed Mintz that her job duties were being reassigned. Ms. Lindvall was suicidal and
                                                         13 suffering from post-partum depression, and Defendants knew Ms. Lindvall was seeking
                                                         14 emergency treatment for these conditions, and yet immediately terminated her with a false
                                                         15 reason and prohibited her from coming back to the firm for any reason. Furthermore, Ms.
                                                         16 Lindvall’s severe emotional distress was directly caused by Defendants actions and inactions,
                                                         17 not the stress of returning to work as Mintz alleged. Plaintiff’s complaint makes clear
                                                         18 Defendants’ conduct was far more depraved, callous, and intentional than the employer’s
                                                         19 conduct in Mintz. See Doc. 10 at ¶¶ 28‒38, 59‒65, 75‒82, 89‒102. The allegations in Ms.
                                                         20 Lindvall’s complaint surpass the “close” call in Mintz and adequately plead a claim for
                                                         21 intentional infliction of emotional distress.
                                                         22       The cases cited by Defendant and decided at the summary judgment phase of litigation
                                                         23 are also unavailing. In Loos v. Lowe’s HIW, Inc., 796 F. Supp. 2d 1013 (D. Ariz. 2011), the
                                                         24 plaintiff alleged having to listen to sex talk at work was outrageous but did not allege an abuse
                                                         25 of authority or known susceptibility to emotional distress. In Matson v. Safeway, Inc., No.
                                                         26 3:12-CV-12-8206-PCT-PGR, 2013 WL 6628257, at *6-7 (D. Ariz. Dec. 17, 2013), the
                                                         27 plaintiff alleged wrongful termination after the defendant suspended plaintiff, investigated a
                                                         28 shoplifting incident, and concluded that five employees, including plaintiff, violated its


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                                                          1 shoplifting policy, but again plaintiff did not allege an abuse of authority or known
                                                          2 susceptibility to emotional distress. In Nelson v. Phoenix Resort Corp., 888 P.2d 1375, 1386-
                                                          3 87 (Ariz. App. 1984), the plaintiff alleged his employer breached a contract and terminated him
                                                          4 in a highly embarrassing manner, but the plaintiff did not allege conditions that would make
                                                          5 him susceptible to emotional distress. In Bodett v. CoxCom, Inc., 366 F.3d 736, 747–48 (9th
                                                          6 Cir. 2004), the plaintiff alleged it was outrageous conduct to be terminated for harassing a gay
                                                          7 subordinate, largely because of her religious excuses for doing so, but alleged no other conduct
                                                          8 other than the termination itself to establish the IIED claim. In Midas Muffler Shop v. Ellison,
                                                          9 650 P.2d 496, 501 (Ariz. App. 1982), the plaintiff alleged vulgar phone calls were outrageous,
                                                         10 but there was no known susceptibility to emotional distress. And in Spratt v. N. Auto. Corp.,
                                                         11 958 F.Supp. 456, 461 (D. Ariz. 1996), the plaintiff had not presented any evidence of
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                      5040 E. Shea Boulevard, Ste. 272
                         Scottsdale, Arizona 85254




                                                         12 outrageous conduct other than the termination itself for alleged theft, failure to follow
                                                         13 company policy regarding the exchange of merchandise, and failure to report a co-worker's
                                                         14 falsification of a timecard.
                                                         15       Cases cited by Defendants that were decided by a 12(b)(6) or 12(c) motion are also easily
                                                         16 distinguishable. In Reel Precision, Inc. v. FedEx Ground Package Sys., Inc., No. CV-15-
                                                         17 02660-PHX-NVW, 2016 WL 4194533, the plaintiff, a business, had a contract with the
                                                         18 defendant. Defendant was accused of making employees do what they called the “walk of
                                                         19 shame” to the accident board after an accident occurred, and the Court found this was not
                                                         20 outrageous. Again, there is no allegation the plaintiff in that case was depressed, suicidal, or
                                                         21 particularly susceptible to emotional distress. In Pontikis v. Lucid USA Inc., No. CV-22-02061-
                                                         22 PHX-GMS, 2023 WL 6127693, at *3 (D. Ariz. Sept. 19, 2023) the plaintiff alleged she was
                                                         23 not promoted, publicly reprimand, received negative comments, and was ostracized. The Court
                                                         24 found the allegations did not state a claim for outrageous conduct. Here again, the plaintiff did
                                                         25 not allege they disclosed they were depressed or suicidal or otherwise susceptible to any form
                                                         26 of emotional distress.
                                                         27       Defendants’ motion should instead be decided using the standard for 12(b)(6) motions in
                                                         28 Coffin v. Safeway, Inc., 323 F. Supp. 2d 997, 1003-04 (D. Ariz. 2004), Thorp v. Home Health


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                                                          1 Agency-Arizona, Inc., 941 F.Supp.2d 1138 (D. Ariz. 2013), and Forsman v. Chicago Title
                                                          2 Insurance Company, No. 05-CV-3514-PHX-FJM (D. Ariz. Jan. 20, 2006). Under the holdings
                                                          3 of these cases, a reasonable member of this community could find Defendants’ actions
                                                          4 outrageous making dismissal inappropriate.
                                                          5       In Coffin, the Court denied Safeway’s motion to dismiss plaintiff’s IIED claim because
                                                          6 plaintiff alleged her supervisor had made repeated unwanted sexual comments, would caress
                                                          7 plaintiff’s hands in a sexual manner, and would walk up close behind her and tell plaintiff he
                                                          8 wanted to rub up against her body. Additionally, the plaintiff alleged that female employees
                                                          9 had complained to the store manager about the supervisor’s behavior and that no action was
                                                         10 taken. Noting that the case was at the initial filing stage, rather than in summary judgment
                                                         11 proceedings, the Coffin court determined the plaintiff had adequately alleged a claim for
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                      5040 E. Shea Boulevard, Ste. 272
                         Scottsdale, Arizona 85254




                                                         12 intentional infliction of emotional distress.
                                                         13       Similarly, in Thorp, the plaintiff alleged the employer “made the topic of drug use and
                                                         14 abuse, sex and sexual activity, the mockery of religious and moral stances on private issues,
                                                         15 and/or the religious and moral choices of the [company’s] employees almost daily topics of
                                                         16 conversation[.]” 951 F.Supp.2d at 1141. The plaintiff reported the conduct multiple times, but
                                                         17 no supervisor took action other than to advise plaintiff to avoid or ignore the conduct. Id. at
                                                         18 1142. The plaintiff also alleged that, as a result of his complaints, “his job duties were
                                                         19 significantly escalated, requiring him to do twice the work of someone else in his position, and
                                                         20 to perform other tasks not required of other similarly-ranked employees, as well as work on
                                                         21 holidays that were identified as non-working holidays in the employee handbook, and, in
                                                         22 addition, his previously-approved time off was cancelled.” Id. The Thorp court found that,
                                                         23 because reasonable minds could differ about whether the defendant’s alleged conduct was
                                                         24 sufficiently outrageous, dismissal was not appropriate.
                                                         25       And in Forsman the Court denied the defendants motion to dismiss plaintiff’s IIED claim
                                                         26 when the employer failed to take action to stop sexual harassment. The plaintiff alleged her
                                                         27 supervisor failed to prevent ongoing verbal and physical sexual harassment, that her co-worker
                                                         28 retaliated against her, that she complained to her supervisor about the retaliation and was


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                                                          1 thereafter discharged; defendant subsequently rehired plaintiff but constructively discharged
                                                          2 her due to what Plaintiff alleged as intolerable treatment. The court reasoned:
                                                          3           Assuming that all of these allegations are true, as we must for purposes of the
                                                                      motion to dismiss, we believe that a reasonable member of this community
                                                          4           could find Chicago Title’s conduct outrageous. As in Ford, this case involves
                                                          5           allegations of physical abuse or assault, factors not present in Mintz. In any
                                                                      event, a society’s sense of outrage evolves with time, and therefore, while a
                                                          6           court’s presumption regarding the values of a community that existed ten or
                                                          7           twenty years ago may be persuasive, it certainly is not dispositive.
                                                          8 Forsman v. Chicago Title Insurance Company, No. 05-CV-3514-PHX-FJM, at *5 (D. Ariz.
                                                          9 Jan. 20, 2006). Similar to our community value of preventing and stopping sexual harassment,
                                                         10 on June 26, 2023, the Pregnant Workers Fairness Act went into effect codifying the values our
                                                         11 community mandates for pregnant and postpartum workers. The law specifically ensures
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                      5040 E. Shea Boulevard, Ste. 272
                         Scottsdale, Arizona 85254




                                                         12 pregnant and postpartum workers are not forced off the job, and can get the accommodations
                                                         13 they need, without facing discrimination or retaliation in the workplace. Defendants’ actions
                                                         14 here do the exact opposite by not only denying Ms. Lindvall the keep her job but punishing
                                                         15 her for disclosing her condition. Accordingly, the Court should determine their actions are
                                                         16 more than sufficiently severe and outrageous and deny Defendants’ motion.
                                                         17     IV. Defendants Hutto, McShay, and Carbone should not be dismissed because they
                                                                    are joint tortfeasors.
                                                         18
                                                         19         Defendants’ sole argument for dismissing the individual Defendants is they each
                                                         20 committed acts that independently do not rise to the level needed to establish liability against
                                                         21 each of them. But Ms. Lindvall’s complaint alleges Defendants are joint tortfeasors, who each
                                                         22 committed specific acts, as described herein, that are cumulatively sufficient to establish a
                                                         23 claim for intentional infliction of emotional distress. The acts resulted in severe emotional
                                                         24 distress, an indivisible injury for which the jury should be allowed to apportion the appropriate
                                                         25 fault. The Uniform Contribution Among Tortfeasors Act (UCATA), A.R.S. §§ 12-2501 to 12-
                                                         26 2509, requires apportionment of damages based on degrees of fault. See A.R.S. §§ 12–2506(A)
                                                         27 (“Each defendant is liable only for the amount of damages allocated to that defendant in direct
                                                         28 proportion to that defendant’s percentage of fault....”); –2506(B) (“In assessing percentages of


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                                                          1 fault the trier of fact shall consider the fault of all persons who contributed to the alleged
                                                          2 injury....”). “Fault” is defined as “an actionable breach of legal duty, act or omission....” A.R.S.
                                                          3 § 12–2506(F)(2); see Dietz v. General Elec. Co., 169 Ariz. 505, 821 P.2d 166 (1991) (joint
                                                          4 tortfeasor may require employer’s negligence to be considered for assessment of fault under
                                                          5 A.R.S. § 12-2506 when employer negligently contributes to employee’s injury)...” The
                                                          6 individual Defendants will ultimately only be liable for the damages sustained based on the
                                                          7 degree of fault considered by the factfinder, but at this early stage in the case, it is impossible
                                                          8 to know how to attribute that fault without discovery. For the reasons explained herein, they
                                                          9 should not be dismissed at this phase of the litigation.
                                                         10         If the Court finds Ms. Lindvall’s claim is insufficiently pled, she requests leave to
                                                         11 amend to add additional allegations to support her claim or to add the claim for intentional
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                      5040 E. Shea Boulevard, Ste. 272
                         Scottsdale, Arizona 85254




                                                         12 infliction of emotional distress after more discovery into Defendants’ collective and individual
                                                         13 actions. See Fed. R. Civ. P. 15(a)(2) (providing that leave to amend should be “freely give[n]”).
                                                         14                                          CONCLUSION
                                                         15         Contrary to the cases cited by Defendants with easily distinguishable facts and less
                                                         16 egregious allegations, most of which were decided on summary judgment under a different
                                                         17 legal standard, the court should find Ms. Lindvall has pleaded extreme and outrageous conduct
                                                         18 that permits recovery. A claim for intentional infliction of emotional distress should be
                                                         19 permitted to proceed if the court determines that “reasonable [people] may differ” as to
                                                         20 whether the conduct was sufficiently extreme and outrageous to result in liability. Lucchesi,
                                                         21 149 Ariz. at 79, 716 P.2d at 1016 (quoting Restatement 2d of Torts § 46 cmt. h). The ongoing
                                                         22 and intentional nature of Defendants’ actions towards Ms. Lindvall and failure to address her
                                                         23 complaints regarding the same, that culminated in Defendants terminating Ms. Lindvall upon
                                                         24 her disclosure of post-partum depression, in the manner in which did, through deceitful means
                                                         25 and intimidation, when Defendants knew or should have known Ms. Lindvall was particularly
                                                         26 vulnerable to the type of severe emotional distress they caused was extreme and outrageous.
                                                         27 The Court should deny Defendants Motion to Dismiss and Ms. Lindvall should be allowed to
                                                         28 proceed with disclosures and discovery on all the claims set forth in her First Amended


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                                                          1 Complaint.
                                                          2           DATED this 12th day of June 2024.
                                                          3                                            FERNANDEZ WATTS LAW PLLC
                                                          4
                                                                                                       /s/Shayna Fernandez Watts
                                                          5                                            5040 E. Shea Blvd. Ste. 272
                                                          6                                            Scottsdale, Arizona 85254
                                                                                                       Attorney for Plaintiff
                                                          7
                                                          8                                   CERTIFICATE OF SERVICE
                                                          9         I hereby certify that on June 12, 2024, I electronically transmitted the foregoing
                                                         10 document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice
                                                         11 of Electronic Filing to all CM/ECF registrants:
FERNANDEZ WATTS LAW, PLLC
                      5040 E. Shea Boulevard, Ste. 272
                         Scottsdale, Arizona 85254




                                                         12
                                                                      MAY POTENZA BARAN & GILLESPIE
                                                         13           Andrew S. Lishko
                                                                      Central Arts Plaza
                                                         14
                                                                      1850 N. Central Ave., 16th Floor
                                                         15           Phoenix, AZ 85004-4633
                                                                      602.252.1900
                                                         16
                                                                      alishko@maypotenza.com
                                                         17
                                                              /s/ Tiffany Fernandez
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